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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )
       v.                                ) CASE NO. 2:13-CR-287-WKW
                                         )             [WO]
TONY JAMES LEFLORE                       )

                                     ORDER

      Defendant has filed a pro se motion for compassionate release in which he

seeks to modify an imposed term of imprisonment pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i). (Doc. # 358.) Defendant was convicted of drug-trafficking

charges and was sentenced to 292 months’ imprisonment. (Doc. # 258.)

      Upon a thorough review of the record and upon consideration of the 18 U.S.C.

§ 3553(a) factors, the court concludes that Defendant’s motion is due to be denied

for the reasons set out in the Government’s response. (Doc. # 370.) Accordingly, it

is ORDERED that Defendant’s motion for compassionate release (Doc. # 358) is

DENIED.

      DONE this 23rd day of September, 2020.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
